Case 2:04-Cr-20303-BBD Document 25 Filed 07/20/05 Page 1 of 3 Page|D 34

IN THE UNITED STATES DISTRICT COURT F`tl~ED S`“----CQD--D-C»
FOR THE WESTERN DIsTRICT oF TENNESSEE

 

 

 
 

 

 

WESTERN DIvIsIoN 2335 JUL '8 PH 7-‘ 92
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c f " mri- \-u" nd trw
UNITED STATES oF AMERICA CL®%UO; §§ b,tg..f'§i$“‘
Plainriff ‘ ' “‘L "
VS CR. No. 04-20303 g 3 a
§§ § s
CURTIS PETTIGREW ;__»_§I o
Defellda[lt. §?_;_“_" n .` xi §
MoTIoN To CoNTINUE REPoRT I)ATE _;. §
m .

COMES NOW, the Defendant Curtis Pettigrew in the above cause by and through
the undersigned Samuel L. Perkins and would move this I-Ionorable Court for an order of

continuing the report date of Thursday, July 21, 2005, at 9:OOa.m.and for cause would
show unto this Honorable Court as follows:

l. The Defendant’s counsel Will be out of town from Wednesday July 20, 2005 to

Sunday July 24, 2005 and would therefore request this Honorable Court to

continue the report date.

~ 2. AUSA CARROLL L. ANDRE III does not object to a continuance in this matter.

3. Defendant does not object to the time being excluded to Speedy Trial Act.

WHEREFORE PREMISES CONSIDERED, the Defendant Curtis Pettigrew
Would respectfully move this Honorable Court for an order continuing the Report date.

Respectfully mitted,
§ MoTloN GRANT§D ' %`%
t .. f ' »,€Ms

._ _ _) / "S’AMUEL L. PB'RKINS #11357
”Ai MM'é'// 4/

147 Jefferson Ste. 804
Mernphis, TN 38103
BERNICE BOU|E DONALD

u.s. nrsTRlcT wer (901) 523-3832

          

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CERTIFICATE OF CONSULTATION

COMES NOW, SAMULEL L. PERKINS, counsel for the defendant, and
advises the Court that he conferred with opposing counsel Carroll L. Andre III,
Assistant United States Attorney, regarding Defendant’ Mo -
CARROLL L. ANDRE III does not oppose this

   

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Was hand delivered OR
delivered via U.S. Mail, postage prepaid, to Carroll L. Andre III, Assistant United States
Attorney 167 North Main, Memphis, TN 38103, this 15th da July, 2005.

    

 

sAMUEL 11.’ PERKIN§

   

UNITED sATE ISTRICT COURT - WTERN DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
case 2:04-CR-20303 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Carroll L. Andre

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147 Jefferson Ave.

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Honorable Bernice Donald
US DISTRICT COURT

